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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS

LLOYD KELLEY                                §
        Plaintiff,                          §
                                            §
VS.                                         §   Civil Action No. 4:22-cv-2175
                                            §
JOE SAENZ                                   §
JOSEPH C. HIBBARD                           §
JOHN BRANNON                                §     JURY REQUESTED
WAYNE DOLCEFINO                             §
CHRISTOPHER RAMEY                           §
SCOTT BREITENWISCHER                        §
MARC SHERRIN                                §
SALVADOR BALLESTEROS                        §
          Defendants.                       §
                        PLAINTIFF’S ORIGINAL COMPLAINT
 TO THE HONORABLE UNITED STATES DISTRICT COURT:
       COMES NOW Plaintiff Lloyd Kelley complaining of Joe Saenz, Joseph
Hibbard, John Brannon, Christopher Ramey, Scott Breitenwischer, Wayne
Dolcefino, Marc Sherrin, Salvador Ballesteros and (“Defendants”) and would show
the Court as follows:

                                   Summary

   This is an action to enforce the Electronic Communications Privacy Act, 18

U.S.C. §§2510-2521, and the Texas Civ. Prac. & Rem. Code § 123.002 et seq. (civil

enforcement of Texas Penal Code § 16.02).




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1. Defendants have violated the law : (1) Intentionally intercepting, attempting

   to intercept, or having someone intercept a wire, oral, or electronic

   communication; (2) Intentionally disclosing or attempting to disclose to

   another person the contents of an illegally obtained wire, oral, or electronic

   communication; and/or (3) Intentionally using or attempting to use the

   contents of an illegally obtained wire, oral, or electronic communication.

2. Certain Defendants also defamed Plaintiff by making untrue accusations that

   Plaintiff engaged in criminal conduct.


                                 PARTIES
3. Lloyd Kelley is a citizen of Texas.

4. Defendants’ names, residences and address for service of process is set forth

   below:

     1. Joe Saenz
        8416 Sea Ash Circle
        Round Rock, TX. 78664-9769
     2. Joseph Hibbard
        2970 CR 210
        Nacogdoches, Tx. 75965
     3. John S. Brannon
        4801 Woodway Dr., Suite 315-W
        Houston, Texas 77056
     4. Christopher Ramey
        215 S. 4th St.
        Wallis, Tx. 77485
     5. Scott Breitenwischer


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        215 S. 4th St.
        Wallis, Tx. 77485
    6. Wayne Dolcefino
       3701 Kirby, Ste 560
       Houston, Texas 77098
    7. Marc Sherrin
       1025 Scarlett Dr.
       Lucas, Texas 75002
    8. Salvador Ballesteros
       545 Woodbrook Trail
       Buda, Texas 78610
                             JURISDICTION

5. The Court has jurisdiction as claims in this suit are based upon a federal

   question; the Electronic Communications Privacy Act, 18 U.S.C. §§2510-

   2521.


6. This Court has jurisdiction under 28 U.S.C. Section 1332 as the claims are

   between citizens of different states. The matter in controversy exceeds the

   sum or value of $75,000, exclusive of interest and costs.


                       STATEMENT OF ECPA CLAIM

7. Plaintiff represents clients including Jetall Companies, 2017 Yale

   Development, LLC and Ali Choudhri (“Clients”). A former employee of

   Plaintiff’s Clients, Chris Wyatt, stole corporate files including electronic

   communications and secretly recorded oral phone communications between

   Plaintiff and Ali Choudhri. Defendants through their lawyers Christopher


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   Ramey and Scott Breitenwischer received the illegal recordings of Plaintiff’s

   conversations with Plaintiff’s Clients and then proceeded to publish them

   continuously in an attempt to “launder” them.

8. Prior to Defendants’ lawyers obtaining a copy of said tapes, Clients had sued

   Chris Wyatt and a restraining order regarding the confidential company

   information had been entered. Upon information and belief Defendants’

   lawyers were aware of said restraining order and were aware that Chris Wyatt

   was a former employee of Clients and that Chris Wyatt was not a participant

   on any of the conversations. Further, Defendants’ lawyers knew that Clients

   had denied any consent to record said conversations. Defendants’ lawyers

   knew Plaintiff was the lawyer for Clients. engaged in years of litigation with

   Plaintiff as the lawyer representing Clients.

9. It was a violation of federal and state law for Chris Wyatt to record and then

   disseminate the pone conversations between Plaintiff and his Clients. Under

   state law, the penalty is a felony.

10. Defendants through their lawyers have repeatedly disclosed or attempted to

   disclose to other persons the contents of an illegally obtained wire, oral, or

   electronic communication. Such acts violate the federal and state law. The

   Electronic Communications Privacy Act, 18 U.S.C. §§2510-2521 prohibits

   the intentionally disclosing or attempting to disclose to another person the


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   contents of an illegally obtained wire, oral, or electronic communication.

11. Defendants were warned that the tapes of the private communications

   between Plaintiff and Choudhri were unlawfully obtained.             However,

   Defendants intentionally ignored the state court litigation and ignored the fact

   that Wyatt is nowhere on the tapes thus not a party to any of the conversations.

   Defendants were aware that Wyatt was an employee of Jetall and as such

   owed a fiduciary duty to that company. Defendants aided and abetted the

   breach of Wyatt’s fiduciary duty by publishing the emails and private

   conversations publicly.

12. Such acts are criminal in Texas and Texas provides for civil relief under

   Texas Civ. Prac. & Rem. Code § 123.002 et seq. (civil enforcement of Texas

   Penal Code § 16.02).

13. 18 U.S. § 2515 provides that whenever any wire or oral has been intercepted,

   no part of the contents of such communication and no evidence derived

   therefrom may be received in evidence in any trial, hearing, or other

   proceeding in or before any court, grand jury, department, officer, agency,

   regulatory body, legislative committee, or other authority… of a State or a

   political subdivision thereof if the disclosure of that information would be in

   violation of this chapter.

14.Plaintiff seeks a declaration that the Wyatt stolen electronic information and


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   illegally taped conversations may not be used by any of the Defendants or

   their agents, or agencies or used in any court proceeding or other government

   or quasi-government proceeding. Plaintiff seeks damages for each use of the

   unlawfully obtained material against each Defendant for each use or

   attempted use.

15. Unless Defendants and their agents are restrained, they will continue to violate

   the law.

16. Defendants willfully and intentionally interfered with valid contracts

   between Plaintiff and David Alvarez and D&A Alvarez Group, LLC

   (hereinafter “Alvarez”) through their agents Chris Ramey and Scott

   Breitenwischer. While Plaintiff represented Alvarez, Defendants’ agents

   tortiously interfered with the attorney fee agreement Plaintiff had with

   Alvarez.

17. Defendants defamed Plaintiff by direct false accusations and by innuendo.

                    TORTIOUS INTERFERENCE
                     WITH A CONTRACT AND
                PROSPECTIVE BUSINESS RELATIONS


18. Plaintiff re-alleges and by reference incorporate all allegations in the

   preceding paragraphs.

19. Pleading additionally, or in the alternative, to recover for tortious interference

   with an existing contract, Plaintiff had existing contract with Alvarez

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   constituting a valid contract subject to interference; (2) Defendants

   committed willful and intentional acts of interference, including deliberately

   inducing Alvarez to breach that contract; (3) these acts and others were the

   proximate cause of the Plaintiff’s damages; and (4) that actual damage or loss

   occurred.

20. In the instant case, Defendants willfully and intentionally interfered with

   valid contracts between Plaintiff and David Alvarez and D&A Alvarez

   Group, LLC (hereinafter “Alvarez”) through their agents Chris Ramey and

   Scott Breitenwischer.    While Plaintiff represented Alvarez, Defendants’

   agents tortiously interfered with the attorney fee agreement Plaintiff had with

   Alvarez. Defendants caused Alvarez to breach that agreement and to secretly

   be directed by Ramey while he employed Plaintiff. As a result, Alvarez did

   not appeal and instead began to take bizzare actions such as begging to be

   sued individually for torts or confessing to crimes as alleged by Ramey.

   Defendants forced Alvarez to sign a false confession in which Alvarez admits

   to criminal acts as alleged by Defendants. Upon information and belief,

   Defendants through their agents bribed Alvarez’s other lawyer, Tim Trickey,

   who was allowed to take proceeds of money that Defendants and their agents

   were denying ever existed. In return Trickey and Ramey entered into a

   conspiracy to work behind Plaintiff’s back while Plaintiff was encouraged to


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   continue working as Alvarez’s lawyer. Plaintiff was falsely induced to

   continue working with the end goal of Defendants and Alvarez to set Plaintiff

   up as a target in which Defendants agreed not to collect on a judgment and

   forced Alvarez to pursue Plaintiff on bogus claims.

21. Defendants acts through their agents made performance impossible or more

   burdensome, difficult or expensive, which was the proximate cause of

   Plaintiff’s actual damages and loss. They also interfered with Plaintiff’s

   representation of his client who then filed a false confession in federal court.

                                  DEFAMATION

22. Plaintiff re-alleges and by reference incorporate all allegations in the

   preceding paragraphs.

23. Defendants published false statements about Plaintiff (ii) that was defamatory

   (iii) while acting with either actual malice, or negligence, regarding the truth

   of the statement.

24. Defendants through their agents published false statements about Plaintiff (ii)

   that was defamatory (iii) while acting with either actual malice, or negligence,

   regarding the truth of the statement.

25. Defendants claimed that Plaintiff “personally causing 2017 Yale’s defaults

   on Steadfast’s loans and everything that has happened since. All claims and

   defenses of these sham entities in all of these cases were predicated upon this


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   fraud. This conduct is a fraud on all of these Courts, that Mrs. Fraga, and

   likely other attorneys, may have wrongfully accepted percentage interests in

   2017 Yale or the trust, to induce their work for Plaintiff in a “fraudulent

   enterprise.”

26. Defendants accused Plaintiff of being involved in a "fraudulent enterprise."

27. Defendants accused Plaintiff of criminal conduct and of engaging in conduct

   constituting a felony.

28. Defendants agent spoke to Wayne Dolcefino and made similar accusations

   on behalf of Defendants which included aiding Dolcefino’s slander-for-hire

   blogs.

29. Defendants defamed Kelley by innuendo. Defendants accused Plaintiff of

   being a "pretend" lawyer and making false statements to courts.

30. Defendants accused Plaintiff of committing fraud by causing them to enter

   into the April 4, 2017 transaction knowing Plaintiff was not involved in that

   transaction at all.

31. Defendants and their agents knew Plaintiff had nothing to do with the April

   4, 2017 transaction and never spoke to Defendants agents Marc Sherrin, Matt

   Aycock or any of Defendants other agents before that transaction upon which

   any of them could base a fraud claim.

32. Defendants accused Plaintiff of a fraudulent transfer of assets that


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   Defendants assert were owned by you them in July2019 when Defendants

   were aware that they sold their Note and Deed of Trust in January 2018 to

   Alvarez and after that date did not own the Property at 829 Yale or the Note

   or Deed of Trust.

33. Defendants have made sworn statements that they have personal knowledge

   of the matters they were factually asserting such as their claim of fraud or

   fraudulent transfer and yet none of them ever spoke to Plaintiff except in a

   taped deposition. Two falsely swore they were deposed and abused by

   Plaintiff when they had never been deposed at all. They were never in

   Plaintiff’s presence at any time during the case. Defendants never attended

   any of the discussions regarding the April 4, 2017 deal with Plaintiff, they

   never attended hearings or the trial or any or anything else. It is impossible

   for Plaintiff to have made any representations to either of them.

34. Defendants’ statements and false innuendo are false and defamatory.

35. Defendants understood what they were doing when on January 30, 2018,

   they sold their “collateral” to D&A Alvarez Group, LLC. The “collateral”

   they are referring to in their false statements regarding Plaintiff is the April

   4th 2017 Note and Deed of Trust to 2017 Yale. The January 31, 2018

   transaction documents were long and detailed. Having read the documents

   thoroughly, Defendants claim they understood them and had counsel when


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   they elected to sell their “collateral” to D&A Alvarez Group company. They

   elected not get a personal guarantee from Mr. Alvarez. Defendants elected

   to finance Mr. Alvarez’s purchase of the “collateral” by loaning D&A

   Alvarez Group, LLC the purchase price. Mr. Alvarez through his company

   thus owned the “collateral.” Defendants did not own the “collateral” after

   January 31, 2018. Defendants’ only “collateral” after January 31, 2018 was

   in UCC Chapter 9 security interest in the underlying instruments themselves.

   Defendants did not have a Deed of Trust ruing to the property. The original

   Note and Deed of Trust were sold to D&A Alvarez Group, LLC as of January

   31, 2018. Thus, as of January 31, 2018, Defendants did not have any

   collateral in the “property” located at 829 Yale. Their security, as it states on

   their transaction documents, says their security is in commercial paper. It is

   undisputed that Defendants never foreclosed on their security interest in the

   underlying commercial paper.

36. Then, Defendants executed an Allonge and attached it to the D&A Alvarez

   Group Note which had the legal effect of endorsing that note back to its

   maker, D&A Alvarez Group. Surely Defendants knew what an “Allonge” is

   and its effect as they were represented by numerous lawyers. Defendants

   obtained a judgment that the January 31, 2018 “Loan Documents” as they call

   them are valid and enforceable. As such, there is nothing to set them aside.


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   Defendants obtained a breach of the January 31, 2019 agreement against

   D&A Alvarez Group, LLC and getting a “money judgment” for $9 million

   against D&A Alvarez Group, LLC.

37. Defendants were made aware by record filings that in July 2018, as owner of

   the April 4,2017 Note and Deed of Trust, D&A Alvarez Group entered into

   a Rule 11 Settlement Agreement with the parties suing him and released all

   such obligations.

38. Plaintiff’s client at that time was Terry Fisher who was a party to that Rule

   11 Agreement. That Rule 11 Agreement was filed with the 190 th District

   Court and put Defendants and others on notice it had been released. In

   January 2019, Defendants deposed Mr. Alvarez about releasing the April 4th

   note and lien. Defendants were aware at that time that Mr. Alavarez had

   released the Note and Deed of Trust. Defendants filed a summary judgment,

   MSJ #5, making a claim that very Rule 11 provided him a release as well.

39.In July 2019, a year after Mr. Alvarez executed the Rule 11, Mr. Alvarez

   executed and had filed a recordable release of lien as to the property in

   accordance with the Rule 11 settlement agreement.

40. As such, Defendants as sophisticated real estate investors knew that after

   January 30, 2018, there was no “collateral” for Defendants’ to claim as to any

   real property associated with 829 Yale. After July 2018, there were no liens


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   on the property associated with any deed of trust. After July 2019, the

   Alvarez release was public record. None of this was fraudulent.

41.All of Defendants’ claims of fraud and fraudulent transfer were dismissed

   with prejudice by the October 2019 judgment.

42.Defendants make false claims that Plaintiff lied to a court under oath however

   none of the Defendants ever observed or heard Plaintiff say anything to any

   court.   Defendants were never in the court room and has no personal

   knowledge of any of the proceedings except his deposition. Instead, the

   transcript record reveals that Defendants’ agent, Mr. Ramey, falsely told the

   Court that Plaintiff had violated the temporary injunction. When the Court

   examined the order, it determined no violation had occurred and never

   proceeded with any hearing. In a subsequent hearing, the 190 th Court has

   admonished Defendants’ agent Mr. Ramey about making such misstatements

   about the proceedings. Defendants continue to falsely state what is objective

   on the record thereby defaming Plaintiff.

43.Defendant Brannon defamed Plaintiff by comparing Plaintiff to Deshaun

   Watson, the NFL player accused of sexual improprieties during massage

   sessions with 25 women.

44.Dolcefino defamed Plaintiff by claiming Plaintiff “setting up a fake trust to

   hide secret ownership” and Plaintiff “committed bribery to keep it secret” and


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   a “shocking betrayal of a number of judges” as well as other false statements

   and innuendo in his July-August 2021 paid-for-hire-blog cast.

45.Ramey drafted over a hundred pages of false and defamatory allegations

   against Plaintiff and then sent them to the State Bar of Texas and to Dolcefino

   and others as part of a smear campaign.

46.Defendants made the false statement that

   An arbitration award on file in a 2012 case, 2012-27197A, was recently made

   public. Exhibit 184. The arbitration panel found that Kelley, Fraga, Choudhri,

   Parker, Pierce, and the other related cast of characters committed fraud in a

   very similar pattern on another property…

47.Defendants labeled Plaintiff a “criminal” and claimed he was part of a “Yale

   Criminal Enterprise.” Defendants published the following false defamatory

   accusations accusing Plaintiff of the following:

         Defendants claimed Plaintiff had engaged in “numerous state and
         federal felonies” and were “effectively “taking the fifth.”
         Defendants claimed Plaintiff conspired to commit seventeen
         distinct scams” that were “all designed to steal the money loaned
         by [Defendants] and title to [Defendants]’s collateral, on
         fraudulent pretenses.”

         Accused Plaintiff of “fraudulently induced and extorted Steadfast
         into a loan workout, for more funds.”

         Accused Plaintiff of “stealing the lenders’ money and invested it
         to bribe others to participate in additional schemes against the
         lenders and property.


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         Accused Plaintiff of “fabricated sham entities to engage in
         interstate transactions, the Enterprise secretly owning or
         controlling all parties to all sides of these fake transactions.”

         Accused Plaintiff of “fabricated fake tax liens to try to foreclose
         on the legitimate lenders. They recorded fraudulent releases of
         Steadfast’s liens, created sham entities to pose as bona fide
         purchasers, and made illegal transfers of the collateral, all in
         furtherance of the Enterprise.”

         Accused Plaintiff of “creating a fraudulent title abstracts omitting
         Steadfast’s prior recorded Loan Documents to attempt insurance
         fraud and use the abstracts to support frivolous pleadings in
         vexatious litigation.”

         Accused Plaintiff of “bribed witnesses to perjure themselves,
         bribed landmen, title companies, and other attorneys to
         participate in their schemes.”

                              CONSPIRACY

48. Plaintiff re-alleges and by reference incorporate all allegations in the

   preceding paragraphs.

49. Pleading additionally, or in the alternative, Plaintiff would show that each

   Defendant was a member of a combination of two or more persons, the object

   of which was to accomplish an unlawful purpose, or a lawful purpose by

   unlawful means, the members had a meeting of the minds on the object or

   course of action, one of the members committed an unlawful, overt act to

   further the object or course of action, and the Plaintiff suffered injury as a

   proximate result of the wrongful act.

50. Plaintiff re-alleges and by reference incorporate all allegations in the

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   preceding paragraphs.

                            AIDING AND ABETTING

51.Pleading additionally, or in the alternative, Plaintiff would show, the primary

   actors committed torts, the Defendants had knowledge that the primary

   actor’s conduct constituted a tort, the Defendants had the intent to assist the

   primary actor in committing the tort, the Defendants gave the primary actor

   assistance   or   encouragement,      and   the   Defendants’    assistance   or

   encouragement was a substantial factor in causing the tort.

                       PRINCIPAL-AGENT LIABILITY

52.Plaintiff re-alleges and by reference incorporate all allegations in the

   preceding paragraphs.

53.Pleading additionally, or in the alternative, Plaintiff would show that

   Defendants were acting as agent for each other in making representations and

   signing agreements with Plaintiff.

                CONDITIONS PRECEDENT AND DAMAGES

54.All conditions precedent to Plaintiff’s claims for relief have been performed or

   have occurred. As a result of Defendants’ aforementioned actions and

   misconduct, Plaintiff has suffered damages in excess of the minimum

   jurisdictional limits of this Court. Defendants’ conduct has directly resulted in



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   the damages to Plaintiff described in this Petition.

55.Plaintiff seeks recovery of reasonable attorney’s fees pursuant to enforce the

   Electronic Communications Privacy Act, 18 U.S.C. §§2510-2521, and the

   Texas Civ. Prac. & Rem. Code § 123.002 et seq. (civil enforcement of Texas

   Penal Code § 16.02) the Texas statutory regime set forth above, and otherwise

   as allowed at law or in equity and as otherwise plead for herein.

                 APPLICATION FOR INJUNCTIVE RELIEF

56.Plaintiff moves this court to issue an injunction and permanently restrain and

   enjoin Defendants, including their officers, agents, employees, successors,

   attorneys, and all those in active concert or participation with them, from

   violating the Electronic Communications Privacy Act, 18 U.S.C. §§2510-

   2521, and the Texas Civ. Prac. & Rem. Code § 123.002 et seq. (civil

   enforcement of Texas Penal Code § 16.02). Defendants and their agents

   should be immediately enjoined from disclosing or attempting to disclose to

   another person the contents of any wire, oral, or electronic communication;

   and/or (3) using or attempting to use the contents of any wire, oral, or

   electronic communication between Plaintiff and his Clients.

57.The statutes provide for injunctive relief.


                                      PRAYER



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       WHEREFORE, Plaintiff prays that the Court enjoin Defendants from

 violating the law and from disclosing or attempting to disclose to another

 person the contents of any wire, oral, or electronic communication; and/or

 using or attempting to use the contents of any wire, oral, or electronic

 communication between Plaintiff and his Clients and that Plaintiff be

 awarded damages, punitive damages and attorney’s fees as provided by law

 and for such other relief that Plaintiff may show himself entitled.

       Plaintiff prays that the Court enter judgment in their favor and against

 Defendants and that Defendants have judgment of and against them for the

 following relief:

    1. That the Court Issue a permanent injunction as plead for herein;

    2. All actual, compensatory, and consequential damages of Plaintiff
       proven and supported by the Pleadings;

    3. All punitive, statutory and exemplary damages and remedies against
       Defendants proven and supported by the Pleadings;

    4. Prejudgment and post judgment interest as provided by law;

    5. Attorney's fees;

    6. Costs of suit;

    7. Such other and further relief at law or in equity to which Plaintiff may
       be justly entitled.


 DATED: July 1, 2022.


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                                      Respectfully submitted,

                                      /s/ Lloyd E. Kelley
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